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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

ARTHUR GURDEK                                   JURY TRIAL DEMANDED

v.                                              CASE NO. 3:12CV

ENHANCED RECOVERY COMPANY, LLC

                                          COMPLAINT

        1. Plaintiff seeks relief pursuant to the Fair Debt Collection Practices Act ("FDCPA"),

l5 U.S.C. § l692.

        2. JURISDICTION: The Court has jurisdiction. l5 U.S.C. § 1692k and 28 U.S.C.

§133l and § 1367.

        3. VENUE: Plaintiff is a natural person who resides in Connecticut.

        4. Plaintiff is a consumer within the FDCPA.

        5. Defendant is a debt collector within the FDCPA, which collects consumer debt

directly or indirectly using mail, telephone, and email.

        6. Defendant is licensed as a consumer collection agency by the Connecticut Banking

Department, and has been a member of ACA International, the collectors’ trade organization,

since 2002.

        7. In January, 2012, defendant reported plaintiff’s personal telephone bill to Trans

Union and Equifax as having a balance of $1,725, inclusive of collection fees.

        8. The collection fees were not authorized by statute or contract.

        9. Defendant removed the account from the credit bureaus on or about August 28,

2012.

        10. On June 5, 2012, defendant was notified of plaintiff’s representation by counsel.
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       11. On November 15, 2012, Defendant communicated with plaintiff about the same

telephone account.

       12. Defendant violated 15 U.S.C. § 1692c, -e, or -f(1).

WHEREFORE plaintiff respectfully requests this Court to:

   1. Award plaintiff such damages as are permitted by law including $1,000 statutory damages.

   2. Award the plaintiff costs of suit and a reasonable attorney's fee;

   3. Award such other and further relief as law or equity may provide.

                                      THE PLAINTIFF




                                             BY____/s/ Joanne S. Faulkner___
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